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March 6, 2025

By ECF and E-Mail

The Honorable Nusrat J. Chodhury
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

        Re:     United States v. Michael S. Jeffries, et. al.
                Criminal Docket No. 24-423 (NJC)(SLT)
                Joint Request to Adjourn March 13, 2025 Status Conference


Dear Judge Chodhury:

       On October 17, 2024, an indictment was returned charging the defendants
with one count of sex trafficking and 15 counts of interstate prostitution. On October
22, 2024, all three defendants were arrested outside of this District. Defendants
Jeffries and Jacobson were released on bonds the same day, and appeared before this
Court on October 25, 2024 for arraignment. Mr. Smith was extradited to this District,
arraigned and released on bond on December 3, 2024.

       The parties appeared, in-person, before this Court on December 10, 2024 for
a status conference. The parties informed the Court that additional time was required
to exchange and review the voluminous discovery in this case and discuss potential
resolutions of the matter short of trial. Accordingly, the Court set this matter for a
status conference on March 13, 2025 at 11:00 a.m., and permitted the Defendants to
appear via telephone.
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       Since the December status conference, the Government has made substantial
discovery disclosures, including Jencks Act material. On February 28, 2025, the
parties were advised that this Court would be in trial from March 12, 2025 to March
21, 2025 and unavailable for the scheduled status conference. The Court offered to
reschedule the status conference to a date before the March 12, 2025 trial
commenced, however, given the volume of the materials provided, and the
additional discovery disclosures that are expected, the parties believe a later date
would be more appropriate.

       We have conferred with counsel for the Government, as well as counsel for
Jeffries and Jacobson, and all have indicated that they join in the instant request and
are available to appear before this Court for a status conference on May 1, 2025 at
1:00 p.m., a date and time that we understand to be convenient for the Court.

       The parties believe that good cause exists to exclude the time between March
13, 2025 and May 1, 2025 under the Speedy Trial Act, and that the ends of justice
served by granting the continuance outweigh the best interests of the public and the
parties in a speedy trial. Defense counsel for Jeffries, Smith and Jacobson have
discussed the right to a speedy trial under the Speedy Trial Act with all three
defendants, and counsel has confirmed that all three defendants waive their right to
a speedy trial, consent to the requested continuance and agree that time is excludable
up to and including May 1, 2025.

      We greatly appreciate Your Honor’s time and consideration in this matter, and
should the Court need any further information we remain available at the Court’s
convenience.


                                                     Respectfully Submitted,




                                                     Joe Nascimento, Esq.
                                                     David Raben, Esq.
                                                     Counsel for Matthew Smith
                                                     (305) 858-9550


cc: Counsel of Record (by ECF)
